                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND


KAREN PETRO, as Administratrix of the                   :
Estate of Mark Jackson                                  :
                                                        :
       v.                                               :      C.A. No. 2009-213S
                                                        :
TOWN OF WEST WARWICK, by and through                    :
its Finance Director Malcolm A. Moore;                  :
PATRICK J. KELLEY, individually and in his              :
representative capacity; SEAN LUKOWICZ,                 :
individually and in his representative capacity; and    :
SCOTT THORNTON, individually and in his                 :
representative capacity                                 :


                 PLAINTIFF’S MOTION IN LIMINE TO EXCLUDE
                 THE TESTIMONY OF DEFENDANTS’ EXPERTS
               DEBORAH MASH, CHARLES WETLI, AND GARY DIAS

       Plaintiff submits this motion pursuant to Rule 104 of the Federal Rules of

Evidence for an order excluding the testimony at trial of Defendants’ experts Deborah

Mash, Charles Wetli, and Gary Dias. In support of this motion, Plaintiff submits

herewith her memorandum of law and the Affidavit of Stephen P. Sheehan sworn to on

February 3, 2011. Plaintiff requests a preliminary hearing.

                                          Plaintiff, Karen Petro,
                                          By her Attorney,



                                          /s/Stephen P. Sheehan
                                          Stephen P. Sheehan, Esq. #4030
                                          Wistow & Barylick, Inc.
                                          61 Weybosset Street
                                          Providence, RI 02903
                                          (401) 831-2700
                                          (401) 272-9752 (fax)

Dated: February 3, 2011
                                   CERTIFICATION

       I hereby certify that I caused to be served by electronic means (ECF) a copy of
the within on the 3rd day of February, 2011, to the following:

      Marc DeSisto, Esq.
      marc@desistolaw.com


                                         /s/Daria L. Souza ___




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